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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )      CRIMINAL ACTION NO.
                                   )        2:12cr104-MHT
STEVEN P. MOCK                     )            (WO)

                                  ORDER

    It is ORDERED that:

    (1) The motion to extend (doc. no.                287) is granted.

    (2) The      motion     for    judgment      of     acquittal       and

alternative motion for new trial (doc. no. 279) are reset

for submission, without oral argument, on September 16,

2013,    with   defendant    Steven       P.   Mock’s   brief   due     by

September 3, 2013, with the government’s brief due by

September 10, 2013, and any reply to the opposition due

by September 16, 2013.

    DONE, this the 10th day of July, 2013.


                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
